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                           UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF VIRGINIA
                              BIG STONE GAP DIVISION

 THE CLINCH COALITION, et al.,                         ) Case No. 2:21-cv-0003-JPJ-PMS
                                                       )
       Plaintiffs,                                     )
                                                       ) JOINT STATUS REPORT AND
       v.                                              ) PROPOSED SCHEDULING ORDER
                                                       )
 UNITED STATES FOREST SERVICE, et al.,                 )
                                                       )
       Federal Defendants,                             )
                                                       )
       and                                             )
                                                       )
 AMERICAN LOGGERS COUNCIL, et al.                      )
                                                       )
       Intervenor Defendants.                          )
                                                       )


        Plaintiffs, Federal Defendants, and Intervenor Defendants (collectively, the “Parties”), by

 and through their attorneys of record, respectfully submit the following Joint Status Report and
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 Proposed Scheduling Order:

   1.   Federal Defendants lodged the Third Supplement to the Forest Service’s Administrative

        Record and Privilege Log on May 9, 2022. ECF No. 81.

   2.   After email correspondence with counsel for Plaintiffs, and in an effort to avoid or

        minimize Court involvement, Federal Defendants have agreed to provide a revised

        Privilege Log.

   3.   Federal Defendants will also review the currently withheld documents and determine if

        any portions of the documents can be redacted, which may allow for the release of

        additional documents or portions of documents.

   4.   The Parties have different positions on timing:

         a.    Federal Defendants’ Position: Due to staffing constraints, the Forest Service is

               hiring a contractor to assist with the redactions and revised Privilege Log. The

               Forest Service estimates that approximately three weeks are necessary for the

               contractor to redact the documents and revise the Privilege Log. The Forest

               Service estimates that it will need approximately two weeks to review and finalize

               the contractor’s work. Approximately one week is then necessary for review by

               the Office of General Counsel at the U.S. Department of Agriculture and the

               undersigned. Based on this timeline, Federal Defendants can provide the revised

               Privilege Log and redacted documents (if any) by July 7, 2022.



               Plaintiffs’ position (below) does not consider the fact that the Forest Service is

               offering to provide redacted documents, not just an updated Privilege Log with
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             additional columns. Redacting the documents requires time and several levels of

             review. The Forest Service’s estimate of the time it will take to provide the

             revised Privilege Log and redacted documents is based on its current assessment

             of the contractor’s ability and Forest Service staffing constraints; Plaintiffs’ 21-

             day demand is arbitrary.

        b.   Plaintiffs’ Position: On April 5, 2022, this Court ordered Federal Defendants to

             “complete the administrative record, or assert an applicable privilege concerning

             any such documents, within 21 days.” ECF No. 77. The Forest Service sought

             (unopposed) and obtained a two-week extension to that deadline. ECF No. 80.

             The Forest Service’s Privilege Log (ECF No 81-3) filed May 9 lacks basic

             information necessary to determine whether the withheld documents currently

             “may be protected by a deliberative process privilege.” ECF No. 77. For

             example, the Forest Service provides a boilerplate privilege assertion for nearly

             every document without explaining how the document qualifies as deliberative; it

             notes the authors of emails but provides no information about recipients; and it

             provides no indication of which documents contain withheld factual material,

             only explaining that “to the extent” any factual material is withheld in any

             document, it is “so intertwined with privileged information that [it] cannot be

             released.” ECF No. 81-4.



             Plaintiffs and Defendants continue to disagree over whether the agency must

             produce documents that the Forest Service expressly relied on in its final rule and
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               “working law” even if those documents could have been subject to a valid

               deliberative process withholding at some earlier time. See ECF No. 77. The Court

               has reserved deciding that question “until the defendant has an opportunity to

               assert an applicable privilege.” Id. Plaintiffs agree that a revised privilege log is

               necessary to the Court’s consideration but object to additional delay of over six

               weeks for the agency to further review documents it has already identified and

               add information to the privilege log that should have been included initially.

               Plaintiffs request that the court order Defendants to provide a revised Privilege

               Log and redacted documents (if any) within 21 days of the court entering a

               scheduling order, consistent with the timeline in the Court’s April 5 Order.

          c.   Defendant-Intervenor’s Position: Defendant-Intervenors take no position on the

               need for, or timing of, additional privilege logs. Nor do Intervenors take a

               position on whether the record is complete. Intervenors favor prompt resolution

               of the merits and do not oppose submitting a joint status report on merits briefing

               or further record briefing by July 21.

   5.   The Parties propose to file a joint scheduling report with dates for merits briefing or

        further record briefing two weeks after the Forest Service files a revised Privilege Log.



        Respectfully submitted on this 24th day of May 2022.



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